 Case 1:18-cr-00147-RMB Document 38 Filed 01/11/21 Page 1 of 8 PageID: 271



                                                    [Dkt. Nos. 30, 33]

                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
                             Camden Vicinage

______________________________
                              :
UNITED STATES OF AMERICA,     :
                              :
          v.                  : Crim. No. 18-147 (RMB)
                              :
DARON SUITER                  : OPINION
______________________________:


     This matter comes before the Court upon Defendant Daron

Suiter’s Motion to Reduce Sentence pursuant to the First Step

Act, 18 U.S.C. § 3582(c)(1)(A)(i) (compassionate release).

Defendant Suiter is currently serving his sentence at FCI

Gilmore in Gilmore, West Virginia, with a projected release date

of February 25, 2022, and a home detention eligibility date of

August 28, 2021.    The Court having considered the parties’

submissions, and for the reasons discussed below, denies the

Motion.

     On March 26, 2018, Suiter pled guilty to an Information

charging Defendant with conspiracy to distribute crack cocaine

and furanyl/fentanyl, in violation of 21 U.S.C. §

841(a)(1)(b)(1)(c).    The Court sentenced Defendant to 60 months

of imprisonment.

     In support of his Motion, Defendant submits that he suffers

from a BMI of 25.8 and asthma.      Defendant candidly admits,

                                     1
 Case 1:18-cr-00147-RMB Document 38 Filed 01/11/21 Page 2 of 8 PageID: 272



however, that he does not need to use an inhaler every day, and

so he may not qualify as having moderate or severe

asthma.   [Dkt. No. 33, at 4.]     Suiter contends that a

combination of these increases his risk of serious illness

should he become infected with COVID-19. Moreover, Suiter asks

the Court to consider the fact that there are many positive

cases of COVID-19 at the prison.


     The Government responds that Defendant does not satisfy the

“extraordinary and compelling” standard for release.          Although

Defendant suffers from being slightly overweight and having

moderate asthma, these are conditions the CDC recognizes might

be an increased risk, and the BOP is addressing Defendant’s

medical needs.    [Dkt. No. 37, at 8.]     Moreover, it also has

introduced evidence of the measures that the Bureau of Prisons

has taken to prevent the spread of the coronavirus.          It is set

forth at length in the Government’s Response. See Govt. Opp.,

Dkt. No. 37, at 2-5)

DISCUSSION
     Although a district court generally has limited authority

to modify a federally-imposed sentence once it commences, Dillon

v. United States, 560 U.S. 817, 825 (2010), the First Step Act

(“FSA”), 18 U.S.C. § 3582(c)(1)(A)(i), permits district courts

to grant compassionate release where there exists “extraordinary



                                     2
 Case 1:18-cr-00147-RMB Document 38 Filed 01/11/21 Page 3 of 8 PageID: 273



and compelling reasons” to reduce a sentence.         The statute

provides, in relevant part, that:

     (A) the court, upon motion of the Director of the
     Bureau of Prisons, or upon motion of the defendant
     after the defendant has fully exhausted all
     administrative rights to appeal a failure of the
     Bureau of Prisons to bring a motion on the defendant’s
     behalf or the lapse of 30 days from the receipt of
     such a request by the warden of the defendant’s
     facility, whichever is earlier, may reduce the term of
     imprisonment (and may impose a term of probation or
     supervised release with or without conditions that
     does not exceed the unserved portion of the original
     term of imprisonment), after considering the factors
     set forth in section 3553(a) to the extent that they
     are applicable, if it finds that--
     (i) extraordinary and compelling reasons warrant such
     a reduction. . .
     18 U.S.C. § 3582(c) (emphasis added). As such, under
     the FSA, a defendant seeking a reduction in his term
     of imprisonment bears the burden of establishing both
     that he has satisfied (1) the procedural prerequisites
     for judicial review, and (2) that compelling and
     extraordinary reasons exist to justify compassionate
     release.
     This Court may only grant a motion for reduction of

sentence under the FSA if it was filed “after the defendant has

fully exhausted all administrative rights to appeal a failure of

the Bureau of Prisons to bring a motion on the defendant’s

behalf” or after 30 days have passed “from the receipt of such a

request by the warden of the defendant’s facility, whichever is

earlier.” 18 U.S.C. § 3582(c)(1)(A); see also United States v.

Raia, No. 20-1033, 2020 WL 1647922, at *2 (3d Cir. Apr. 2,

2020), as revised (Apr. 8, 2020).        This is a statutory

                                     3
 Case 1:18-cr-00147-RMB Document 38 Filed 01/11/21 Page 4 of 8 PageID: 274



requirement that this Court may not waive.         See, e.g., Raia,

2020 WL 1647922 at *2; Massieu v. Reno, 91 F.3d 416, 419 (3d

Cir. 1996); Ross v. Blake, 136 S. Ct. 1850 (2016).

     Defendant has exhausted his administrative remedies.

United States v. Raia, Civ. No. 20-1033, 2020 WL 1647922, at *2

(3d Cir. Apr. 2, 2020).     The Court, thus, turns to the merits.

     Under 18 U.S.C. § 3582(c)(1)(A), this Court may, in certain

circumstances, once the exhaustion requirement has been

satisfied as it has here, grant a defendant’s motion to reduce

his term of imprisonment “after considering the factors set

forth in [18 U.S.C. § 3553(a)],” if the Court finds that (i)

“extraordinary and compelling reasons warrant such a reduction,”

and (ii) “such a reduction is consistent with applicable policy

statements issued by the Sentencing Commission.” 18 U.S.C. §

3582(c)(1)(A)(i).    The Defendant bears the burden to establish

that he is eligible for a sentence reduction.         United States v.

Jones, 836 F.3d 896, 899 (8th Cir. 2016); United States v.

Green, 764 F.3d 1352, 1356 (11th Cir. 2014).

     The Sentencing Commission has issued a policy statement

addressing reduction of sentences under § 3582(c)(1)(A). As

relevant here, the policy statement provides that a court may

reduce the term of imprisonment after considering the § 3553(a)

factors if the Court finds that (i) “extraordinary and

compelling reasons warrant the reduction;” (ii) “the defendant

                                     4
    Case 1:18-cr-00147-RMB Document 38 Filed 01/11/21 Page 5 of 8 PageID: 275



is not a danger to the safety of any other person or to the

community, as provided in 18 U.S.C. § 3142(g);” and (iii) “the

reduction is consistent with this policy statement.” U.S.S.G. §

1B1.13.1

        The policy statement includes an application note that

specifies the types of medical conditions that qualify as

“extraordinary and compelling reasons.” First, that standard is

met if the defendant is “suffering from a terminal illness,”

such as “metastatic solid-tumor cancer, amyotrophic lateral

sclerosis (ALS), end-stage organ disease, [or] advanced

dementia.” U.S.S.G. § 1B1.13, cmt. n.1(A)(i).            Second, the

standard is met if the defendant is:

        (I)   suffering from a serious physical or medical condition,

       (II) suffering from a serious functional or cognitive
            impairment, or


       (III) experiencing deteriorating physical or mental
             health because of the aging process,

1 The policy statement refers only to motions filed by the BOP
Director. That is because the policy statement was last amended
on November 1, 2018, and until the enactment of the First Step
Act on December 21, 2018, defendants were not entitled to file
motions under § 3582(c). See First Step Act of 2018, Pub. L.
No. 115-391, § 603(b), 132 Stat. 5194, 5239; cf.18 U.S.C. §
3582(c) (2012). In light of the statutory command that any
sentence reduction be “consistent with applicable policy
statements issued by the Sentencing Commission,” 18 U.S.C. §
3582(c)(1)(A)(ii), and the lack of any plausible reason to treat
motions filed by defendants differently from motions filed by
BOP, the policy statement applies to motions filed by defendants
as well.
                                        5
 Case 1:18-cr-00147-RMB Document 38 Filed 01/11/21 Page 6 of 8 PageID: 276




          that substantially diminishes the ability of the
          defendant to provide self-care within the
          environment of a correctional facility and from
          which he or she is not expected to recover.

Id. § 1B1.13, cmt. n.1(A)(ii).           The application note also sets

out other conditions and characteristics that qualify as

“extraordinary and compelling reasons” related to the

defendant’s age and family circumstances. Id. § 1B1.13, cmt.

n.1(B)-(C).   The note recognizes the possibility that BOP could

identify other grounds that amount to “extraordinary and

compelling reasons.” Id. § 1B1.13, cmt. n.1(D).

     Here, Defendant acknowledges that his medical conditions

are not among the categories of conditions recognized by the CDC

as entailing a greater risk of serious illness.         Although these

conditions fall within the second set of identified health

conditions for which persons might be at an increased risk,

there is no evidence put before this Court to demonstrate that

his medical conditions are not being treated.         To the contrary,

evidence demonstrates that Defendant is being treated for his

medical conditions.

     Moreover, the record before this Court demonstrates that

the BOP is undertaking efforts to contain the COVID-19 situation

at FCI Gilmore.    While the Court agrees with Defendant that the

numbers are concerning, the record supports the conclusion that

the situation has not worsened, and BOP efforts to contain the
                                     6
 Case 1:18-cr-00147-RMB Document 38 Filed 01/11/21 Page 7 of 8 PageID: 277



spread of the virus are working.         On November 13, 2020, the

Government advised there were 114 positive cases.          See Dkt. No.

72, at 9.    By January 11, 2021, the date of this Opinion, there

are 97 inmates who are positive.         Thus, while the numbers are

concerning, BOP’s efforts to control the spread seem to be

working.

     The Court also finds that Defendant has failed to

demonstrate that he merits release under the § 3553(a) factors.

Under the applicable policy statement, this Court must consider

the § 3553(a) factors, as “applicable,” as part of its analysis.

See § 3582(c)(1)(A); United States v. Chambliss, 948 F.3d 691,

694 (5th Cir. 2020).

     A sentence reduction here would be inconsistent with the §

3553(a) factors.    First, a reduction would fail to “reflect the

seriousness of the offense,” “promote respect for the law,” and

“provide just punishment for the offense.” 18 U.S.C. § 3553(a).

The crimes committed by Defendant were particularly heinous - -

the distribution of crack cocaine to addicts in and around

Camden, inflicting farther destruction on a city plagued by drug

activity.

     The “history and characteristics of the defendant” and the

need to protect the public also counsel against any sentencing

reduction.   As set forth in the Government’s opposition, the


                                     7
 Case 1:18-cr-00147-RMB Document 38 Filed 01/11/21 Page 8 of 8 PageID: 278



Defendant has a troubled criminal history and a substance abuse

history.   The statements he has made are equally troubling.           The

Court has little confidence that he will abide by conditions of

release.   For similar reasons, the need for deterrence and the

need to punish the Defendant also weigh against reducing

Defendant’s sentence.     The Court recognizes the concerns raised

by Defendant as to his mental and emotional challenges and has

weighed those factors as well.

     The Court has reviewed the record, and given the time

remaining on the Defendant’s sentence (almost one year of a

five-year sentence) cannot find that the §3553(a) factors

warrant his release.     Rather, they counsel in favor of continued

incarceration.

     The Motion is therefore DENIED.

                                  s/Renée Marie Bumb_________
                                  RENÉE MARIE BUMB
                                  United States District Judge

Dated: January 11, 2021




                                     8
